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                     IN     THE    DISTRICT       COURT       OF THE       NINETEENTH


                    JUDICIAL        DISTRICT          OF THE       STATE    OF MONTANA


                            IN    AND    FOR    THE    COUNTY        or   LINCOLN




           CAUSE    NO      DV-99--133


           JAMES           HOPKINS      and     LOUISE
           HOPKINS         husband      and     wife

                                    Plaintiffs

                   vs

           W.R     GRACE          CO.-CONN
    10     Connecticut           corporation
           W.R     GRACE          CO           Delaware
    11     corporation W.R    GRACE                     CO
           a/k/a  GRACE  an association                      of
    12     business  entities and DOES                       I-Ill


                                    Defendants

    14


    15                                  DEPOSITION
    16                                                 OF


    17                                    JAMES             HOPKINS


    18


    19
                                  Taken    at    the Law Offices             of
    20                     Garlington            Lohn   Robinson              PLLP
                                               199 West Pine
    21                                    Missoula          Montana
                     Thursday           February        24        2000      900 a.m
    22


    23


    24
              Reported by Jolene Asa RPR                            and Notary   Public
    25           for the State of Montana                           Flathead   County
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                                                                                                                  11




           of   the      time       we    was       on     --         cant        remember          the


           address             It    was       Main       Avenue            too     down            ways    from


           where        we    lived

                               Were       you       renting           an    apartment

                               Renting           there           yes

                               So    the       first       home        you       purchased          was    on


           Main    Avenue           in     68
                               That       was       rented        too

                   .Q          So    your        first          home       was    73
    10                         Yes

    11                         Jim        as    you       sit     here       today        how       would       you


    12     describe          your        health

    13                        Not        real       good

    14                        What        problems              do you       have       with    your       health


    15     right    now

    16                              have       extreme           shortness          of    breath

    17     chronic           coughing

    18                        Any        other       problems

    19                        No

    20                        Now         when       you        say    you       have    extreme


    21    shortness           of breath                  whe4     do       you    recall       first


    22    noticing           shortness              of    breath           problems

    23                        Sometime              after        94         it    seemed       to    start       as


    24       gradual          change           in    my    health

    25                        Did        you    have       any        shortness          of    breath
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                                                                                                            12




           problems       prior        to       94    that       you    recall

                              No

                              When    you       say     After          94It    that       you   --


                               94    is     when           can    say         started       noticing

           the    changes

                              And    that       was     going      to be       my question                 was


           there    some       event        that      precipitated             you       noticing      this


          more     than       others         or      did    you    just       notice       it


          generally           from    day       to    day

    10                        Just    generally                  Not    day    to    day        It    was


    11    over       period          of     time        though

    12                        After       94
    13                        tjh-huh


    14                        And    in what          ways       did    you    start       to notice


    15    it

    16                        Climbing          stairs       was       the    first       thing


    17    really     noticed

    18                        Any    particular             stairs

    19                        At    work

    20                        Do    you    have       to    clint            lot    of    stairs      at


    21    work      or    did       you

    22                        Yes

    23                        And    could        you      describe          for me       how   you


    24    started        to    notice        it             mean        any    particular            number


    25    of     flights       that       you     would      walk        and       then    youd       start
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                                                                                                            13




           getting       shortness           of    breath            If    you     could      describe


           it as best          you     can        Id appreciate               it

                           As          say        it    started       gradually               It     seemed


           like    Id go         up         couple       of     flights       of    stairs           and


           Id be        winded          Then       it    progressed           from       there.until


          now     one    flight        of    steps       just       about     does      me    in

                           Its         gotten          progressively             worse       since     94
                           Yes

                           Is    there           any    time       between       94     and     the


    10    present         Jim         that       you    recall            particular          time


    11    where     it    was     significantly                greater        in    terms       of


    12    severity         or    has        it    pretty       much       been     fairly


    13    progressive

    14                     Its         been       progressive              yes

    lb                     Okay             You    said       extreme        shortness          of


    16    breath          When        would       you    say       that    you     started


    17    suffering        from the              extreme        shortness          of   breath         as


    18    you     would    define           extreme

    19                     Between           97        and    99
    20                     In    the        last       couple       years

    21                     Yes

    22                     How        about       the    coughing             Could       you

    23    describe        for me        the       types       of    problems        you      have     with


    24    coughing        on         daily        basis

    25                          have        coughing          daily       and      its usually
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                                                                                                                 14




           fairly       dry        nonproductive-type                    cough        worse          at    night

           than    in    the       daytime

                              Are    you       able     to    sleep       okay

                              Not    real       good

                              Does       the    coughing           keep       you    up    at       night

                              Yes

                              You    mentioned              that    its        usually          dry       and


           nonproductive

                              Uh-huh

    10                        At    times       is     it    productive

    11                        No         Not    really               dont           spit       up    when


    12     cough       or anything             like     that

    13                        And    you       said     that       its        worse       at    night

    14     Could       you    give       me      little        bit       more       information

    15     say like            on    an       hourly        basis        on    how    often          you    can


    16     recall       coughing

    17                        Usually           when          cough           its     for            period


    18     of    time        and    then       it will        settle          down        and       probably


    19     two    or    three       times            night

    20                        And    when       you     have       one    of    these          coughing

    21     episodes          two    or    three        times       in the       evening              how    long


    22    does     the                                        take       on         usual       --
                             coughing          episode

    23                        It    varies

    24                        How    about            bad     one         How       long       would            bad


    25    one     take
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                                                                                                           15




                          Ten     minutes          maybe

                          And     how       often       on    the    average           would    you       say


          you    have    one     of    these       ten-minute             coughing           fits    in


           the   evening          Is    that       daily

                               couple        times            week          Its        not    evening

           Its    at    night     when       Im sleeping
                          Im sorry                 So    the       worse       ones     seem    to    come


          when    youre        lying        down        trying       to     get    to    sleep

                          Yes

    10                    Do     you    ever       wake       up    in    coughing           fits

    11                    Oh yes

    12                    How     often       does       that       happen        on    the    average

    13                    Average            Id     say            couple       times          night

    14                    Is     there       anything          you       can    take     for the


    15    coughing        any     medication             that       seems       to provide           you


    16    some    relief

    17                    No          Ive     never          found       anything             Ive

    18    tried    over    the        counter           and    Ive        tried        prescription

    19                    And     nothing          has       seemed       to provide           relief


    20    for    it

    21                    No

    22                    Are     you       currently          on    any       type     of


    23    medication       for        the    cough

    24                    No

    25                    What        types    of       over-the-counter                 stuff       did
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                                                                                               32




          into    the    Air Force             Theres           16   years     difference      in


          our    ages

                          So           moved       to    Libby       in about     164
                                you

                          Yes

                          And    when     were       you   married

                          t65


                          When            got      out     of    the Air Force          what
                                  you


          was    your    first     employment

                          W.R     Grace

    10                    That    was     in    September            of   64
    11                    Yes

    12                    And    you     worked         for Grace         until   90
    13                    Yes         April     of      90
    14                    Now     when       you     moved       to Winnemucca          in   90
    15    who    did    you    work     for

    16                         worked     for      one     year      with    First   Miss


    17    Gold

    18                    Excuse        me

    19                    First       Miss     Gold

    20                    First       Miss     Cold

    21                    Yes

    22                    What     did    you      do    for     them

    23                    Instrumentation                electrician

    24                    Is    that     what      you     had       ended   doing   for


    25    W.R     Grace
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                                                                                                  59




                          No

                          You    filed          Workers         comp    claim       for    that

                          Yes

                          Did    you    file      any    other    Workers           Comp


          claims     through      the    years          other    than    the       recent


          accident     last      summer      or    your    finger       or    the


          asbestosis       in the       late      80s

                          Not    that        can    remember

                          Jim     do you        recall     getting       thest          x-rays


    10    done   every     year     after       starting        with    Grace

    11                    Yes

    12                    Did    you    receive         those    reports

    13                    No       did      not

    14                    You    never      received       any    of    them       until       1990

    15                    Right         Correct

    16                    What    was    your      understanding             as    to    why    you


    17    were   having     those       chest      x-rays       done

    18                      thought         they    was    checking          our    spines

    19                    Not    your    chest

    20                   No

    21                   Was     that    your      understanding              that       they


    22    were   checking        your    spines          from    1964    all       the    way    to


    23    1990

    24                   Around        79    is    when    they    first          started


    25    talking    about       asbestos
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                           Is    that     about    the     time      where        you    realized


           that   the     chest     x-rays       were     looking       at    your       lungs

                           Yes

                           Did     you    ever    ask     anyone       at    Grace       why these

          chest     x-rays       were     done    every        year

                           They     told    us    to do        them           mean        it was


          just    like     --    It was     part     of    our    employment             that       we


          were    sent     to    get     chest    x-rays

                                    MR     MacDONALD             Excuse       me

    10                              Brief        recess

    11    BY   MR    MacDONALD

    12                     Jim      you    had    expressed          your     understanding


    13    about     the    chest       x-rays        My    question          was        did    you


    14    ever    ask     why the chest           x-rays       were     done

    15                     They     just    scheduled          all     of us       to    go    in    and


    16    have    them     every       year       That     was    part       of    our


    17    employment

    18                     But    my qustiOn is                did     you    ever       ask    why

    19                     No       Like         say      it   was      like        you       wear


    20    hard    hat       You     go    get      chest       x-ray

    21                     So    you     never    asked        why

    22                     No

    23                     At    least     between        64     and    79         your


    24    understanding           was     that    they     were      checking           your

    25    spine
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           injury       lawsuits

                           No

                           Have    you    ever       been    sued      in any      capacity

                           No

                           Have           ever       had    any    treatment            for
                                   you

           alcohol-related             problems

                           No

                           This    is    my    favorite          one      Have     you        ever


           had    any    treatment        or psychiatric               problems

     10                    No      We    probably          all    should


     11                    Id     be    afraid       to           might      never       get    out

     12                    Now     when       you    started       with      W.R        Grace       in


     13    64      what    was    the    first thing             you   did    with       them

     14                    Mucking       in the       wet    mill

     15                    Do           remember       about       how    long     you        did
                                 you

     16    that

     17                    Three       weeks

     18                    Who    was    your       supervisor

     19                    Al    Nicholls

     20                    And    when    you       began    work      there       in    64         were


     21    you    provided       any    safety       equipment         when     you      started

     22                    Hard    hat

     23                    Was    there       any    other       safety      equipment          that


     24    they    told    you    about       that    you    should       get      maybe       on


     25    your    own
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                                                                                                     63




                           No

                           Were    you    provided                respirator

                           Not    when         started           work    there        no-     After


             went       into   research             They     had    them       in the


           warehouse       that    we    could        get    if    you    wanted       them

                           And    so           worked        under       Al    Nicholls       in    the
                                        you

           wet    mill    for about       three        weeks

                           Yes

                           Then    what       did     you    do

     10                        would     have       quit     at    the    end    of    the    third


     11    week    because         figured          that     wasnt        the    way    to make


     12    living        but   they     came     in    and       asked    me    to take            test


     13    for mine       research             math-type           test        and      was    given


     14    the    job    in mine       research        after       that


     15                    How    long    did       you     work    in mine          research

     16                    Two     three       years

     17                    And    what    did       you     do    in mine       research


     18                    Assaying

     19                    Testing       the     quantity          of    the    materials

     20                    Yes

     21                    And    what    type        of materials             were    you

     22    testing       for

     23                    Vermiculite

     24                    What    were       the     contaminants             you    were


     25    testing       for
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                                                                                                             67




                           Did       most    all       of    the       others          in mine


           research     wear         respirators             in       the    dusty        areas

                           No

                           Can       you    remember             any       that    didnt

           specifically          as    you       sit    here          today

                           There       wasnt                lot       of    people        that    wore


           respirators          up    there            There          was         few     in   the     dry


           mill and     that          but    it    wasnt                   general        --



                           It    wasnt             general             thing

     10                    No

     11                    Okay            But    you       remember             seeing          few    of


     12    them   wearing        respirators                in    the       dry    mill

     13                    Yes

     14                    How       much    contact             did       you    have     with      the     dry


     15    mill when       you       were    in    mine          research

     16                    The       diy    mill       set       right       beside        the    lab

     17                    So    you       had         lot       of contact             with     it

     18                    It    wasnt           that            was       going       into    the     dry

     19    mill but        the       dust    from the             dry       mill was           all over       us


     20    all    the   time

     21                    Okay            How    much       contact             did    you    have     with


     22    the    inside    of       the    dry    mill          in    tens        of     going      inside


     23    it

     24                    very       little       until               went        into    the


     25    electrical       instrumentation
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                           So              were     in the          mine          research          for    two
                                 you

           to    three    years        and     then       where          did       you    go
                           Then            went     to    the                             --    Part       of my
                                                                    secondary


           mine    research         was     running           the       mobile          test    lab       up    in


           the    mine     and      then      from there                     went       into    drilling


           and    blasting

                           How      long      were       you       in    drilling          and


           blasting

                           Prom       --    Its      hard          to put          years       on    this


     10    without       going      back      into       my    records              but         was       in


     11    there     until       73         First             was       on    the       secondary          drill


     12    and    blasting            Then          was       on    the       big       blast       hole


     13    drill

     14                    And      then      what       did       you       do    in    73
     15                    Went       into     electrical                instrumentation


     16                    And      thats         where        you       stayed          until        90
     17                    Yes

     18                         think        from    Schimkes                 record           as


     19    understand          it     it     indicated             that       your       exposure          to


     20    dust    was    pretty       minimal           after          you       got    into


     21    electrical          instrumentation

     22                    Not      really        minimal               because          when            first


     23    went    in there           we    was     still having                    to work         in    the


     24    old           mill    at    times        too            When             first went            in
                  dry

     25    there        they    was    trying        to get             the       new    mill       started
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           but      they   was     still       running      the    old    mill        and      wed

           have      to go    in there          and    pull    maintenance

                             Would       you    wear        respirator          when       you    were


           in    the   old    dry    mill

                             You    couldnt           see   your     hand      in front          of


           you

                             So    did    you    wear         respirator

                             Yes         And    then    there      was    other       areas


           around      there       that    was    quite       dusty      too        like    the       skip


     10    system          river    loading           screen      plant

                             But    in all       of    these      jobs      you      were      pretty


     12              about    wearing            respirator          when      you    were       in
           good

     13    real      dusty    areas

     14                      Yes           just       didnt       like    having          to blow       my


     15    i-iosŁ    and    see    that    stuff       come    out    all      of    the    time


     16                      Who    was    your       supervisor         when       you    went       into


     17    the      drilling       and    blasting          area

     18                      Lou    Krupp

     19                      Lou    Krupp

     20                      Krupp

     21                      Did    Lou    Krupp       ever    tell      you    to wear


     22    respirator         in    dusty       areas

     23                      No

     24                      When    you       first    started       there         in    64     and


     25    when      you   first     started          in the      mine    research
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                                                                                                              79




                               How    about       the    rotary          drill       or    secondary


           drill      while      drilling               Do    you       ever    recall          it being


           rule     to    wear         respirator             while       doing       those


           activities

                               No

                               Thats        even    when          you    were       in the       drilling


           and     blasting

                               Right

                                           Exhibit            was       marked

     10    BY    MR      MacDONALD

     11                        Between       1964       up    to        lets say            79         Jim

     12    do you        recall       the    dust       conditions             up    at    the    mine


     13    ever     getting          any    better           any    improvement

     14                        The    only       thing       they       done    in    the mine          for


     15    dust     was          Originally              they       put    oil on          the    roads

     16    and     then    in    the       later    years               think       they    went       to mag


     17    chloride        or    something          like          that         That       was    the   only


     18    thing          ever       seen    for    dust          in the       mine.


     19                        How    about       when       you    were        in the      mine


     20    research        department               Do       you    recall          any    efforts


     21    being      made      by    W.R        Grace       or    things       being       done       to


     22    reduce        the    dustiness          up    there

     23                        No

     24                        After       you    were       out    of    mine       research           do


     25    you    recall        W.R        Grace    doing          anything          to    reduce       the
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                                                                                                                 80




           dusty       conditions          up     there         at    all in any              department

           not    just       the    mine        anywhere             up    there

                              What    time        frame         are       you    talking

                              You    had     just         indicated             that    during        mine


           research          you    dont        recall          WR         Grace       doing        anything


           to improve          the    conditions

                              Ho

                              All       want         to    do    is       follow        up    on    that

           After              were    out       of    mine       research               do    you    recall
                       you

     10    W.1     Grace       doing       anything             to    improve           the    dusty


     11    conditions          up    there

     12                       The    first        thing         that            can     say    that       they


     13    actually          done    anything             about       dust       was     when       they


     14    built       the    new    mill            It    had            baghouse           for    the


     15    dryer

     16                       Jim was           it    your       understanding                 that       that


     17    was    at    least         partial             reason          why    they        were    building


     18    the    new    wet       mill      to      reduce          the    dustiness              from.the


     19    old    dry    mill

     20                       They     was      trying          to    increase           their       tonnage

     21    the    production

     22                       It was       never          your       understanding                 that    they


     23    were    building          that       also       to    reduce          the     dust


     24    considerably              from the         old       dry       mill

     25                            dont      remember            hearing           it    said       that    way
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                                                                                                                81




                             wet                       was     the     big       difference              but
           It    was                process

           dont        remember                           saying       it    was       to    reduce       the
                                      anybody

           dust    at    all

                              Outside          of     the    new      mill       and     outside         of

           think              had    said           putting          oil    on     the      roads        do you
                       you

                         after       getting           out      of    the    mining          research
           recall

                                   W.R      Grace         doing       anything           to improve            the
           department

           dusty       conditions           up      there

                              With       the     new      mill       they    had       some    baghouses

     10    but    then       toward        the      end     they      had    an     injection            system


                 the                                      for     supposedly             adhering         the
     11    at           screening           plant


     12    dust    to    the       ore      but       that      was    as     it    left      the


                                            after         it    had    all       been       processed
     13    screening          plant

     14                       Was    that        in    the       80s

     15                       Yes          Late       80s

                                                 else       over      the     years         that    you
     16                       Anything


     17    recall       W.R        Grace       doing         to reduce           the     dust

     18                       No

     19                       Did              ever       make       any     complaints             to
                                     you

     20                        about        the       dusty        conditions            up    there      at
           management

     21    the    mine

                              Everybody             complained             about       the     dust
     22


                              Was     it          common        topic        amongst          the    workers
     23


     24                       It    was     annoying

     25                       You     couldnt             get      away      from        it
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                           No      you       couldnt

                           Is     it    fair       to       say    that       thats        pretty


           consistent       from        1964       through          1990           that    everybody


           seemed       to complain           about          the    dust      up     there

                           Yes

                           who     did       you       complain          to when          you    did


           complain         Was        it    usually             just    coworkers              or    did    you


           ever    complain        to       supervisors

                           Supervisors                 and       coworkers

     10                    And     how       did       the       supervisors             usually


     11    respond       when    you        would       say       something

                           Got     to have             it    fixed        referring             to          If
     12


     13    something       was     broke          down           like     say        in    the       tunnels


     14    under    river       loading           or    something              Theyve           got    to


     15    have    it    fixed     to       get    their production                      going

     16                    And     then       would          they       get    it    fixed

     17                    Yes

     18                    Did     you       ever       have       discussions             with


     19    management       regarding              the       dangers          of    the    dust

     20                    Not     until          79        or    later

     21                    Prior        to    79        did       you    know       that    asbestos             in


     22    the    dust    could        be    harmful

     23                    Prior        to    79        they       told       us    it    was


     24    nuisance       dust

     25                    And     who       is    that           when    you       say    They
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                                         Kujawa       was       one       of    them          He    said        you
                                  Ray

           could        eat       that    stuff       three          meals            day     and    it



           wouldnt            hurt       you

                                  Have    you       ever       heard       of    Zono       bread

                                       heard    of    it        but       Ive        never     seen        any    of


           it

                                  Thats        what       he    would          say    is    that     you        could


           eat          ton       of    it     is    that       correct

      .9                          Yeah

     10                           You    dont        recall          him       ever    saying            that    you


     11    could        breathe              ton     of    the       dust        do    you

     12                           He    never       said       --    He    said        Its               nuisance

     13    and     it    isnt           going       to hurt          you

     14                           Now     in    79        how       did    you       learn        that     it    was


     15    worse        than            nuisance          dust

     16                           Thats        when       the       company          first        started


     17    telling           us    about       it    and       having          meetings           with


     18    mainly            the       smokers.

     19                           And    you    had       worked          there       at     that        time


     20    about        15    years

     21                           Yeah

     22                           Were    you       angry       when       you        found        out    that        the


     23    dust     could          be    harmful

     24                                wouldnt        say       angry            Id         say     more


     25    confused           that       all of            sudden          theyre            telling        us
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           or vehicle


                               Its illegal

                               You   have       to    get       out        obviously           but    do you


           do any       road       hunting       or    anything             like    that

                              No

                              What       kind    of    things          --    Ill        step     back      one


           question

                               Im just          still       snickering             about       hunting


           from         car          lawyer          telling          something          illegal

     10                            didnt        mean       hunting          from the        car      itself

     11    but    driving          when    you       were       hunting

     12                       You    mentioned             you       had    problems        sleeping

     13    when    did    you        first notice               you    were       having       problems


     14    with    your        sleep

     15                       The    last       three       or       four    years

     16                       1nd    is    it primarily                the       cough     that      gives


     17    you    the    problem          when       youre           sleeping

     18....                   Thats        the       thing       that       wakes    me     up    the


     19    most yes

     20                       And    you    mentioned                some    of    the    activities


     21    you    liked       to     do     Which          of    those       can    you     not      do now


     22    because       of     your      shortness             of    breath

     23                            cant     hunt           and       swimming       --     Im severely

     24    restricted           on how      far            can       go           mean      it    used      to


     25    be    Id     take       the    boat       and    go       out    in    the    middle       of    the
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           lake    and    jump      out    of    the       boat       and    go    swimming     and


           didnt      care     how       deep    the       water       was        Now      swim


           where         can   stand       up    when           need        to because          cant

           swim    any    distance         anymore

                           Besides         the    swimming             and    walking      uphill


           for your       hunting          is    there       anything             else   that   you


           cant     do    that             used       to    like       to    do before        YOU   had
                                    you

           the    shortness         of    breath

                               dont        get    into          the    woodworking         like


     10    used

     11                    why      is    that

     12                    Dust

     13                    Did      you    ever       consider          wearing


     14    respirator

     15                        do    have       one

     16                    Does      that       seem       to    help

     17                    Woodworking            --       Youre        not       breathing     in    the


     18    sawdust       and   that       when    you       have            respirator        on

     19                    And      do you       do    much        yard      work

     20                    No

     21                    Did      yoU    ever       do much          yard       work

     22                    Mow      the    lawn            Ive        got    the    worlds

     23    brownest       thumb

     24                    what      do you       mean          by that

     25                        can       kill    plaŁtic           plants
